                 Case 01-01139-AMC                 Doc 22476-1     Filed 07/16/09    Page 1 of 26



                                     IN THE UNITED STATES BANUPTCY COURT

                                           FOR THE DISTRICT OF DELAWAR


In re:                                                     )      Chapter 11
                                                           )
W.R. Grace & Co., et aL.                                   )      Case No. 01-1139 (JKF)
                                                           )      Jointly Administered
                                      Debtors.             )



                                                 AFFIDAVIT OF SERVICE

                        Margaret D. Broadwater being duly sworn according to law, deposes and says that

she is employed by the law firm of               Pachulski Stang Ziehl & Jones LLP and that on the 16th day

of July, 2009, she caused a copy of               the following document to be served upon the following

service list in the manner indicated:

     Stipulation Resolving Claims of Madison Complex, Inc. (Claim Nos. 6079 and 18499)


                                                     qJ~ØA~
                                                       Margar D. Broadwater




                                                                           DEBR L. YOU
                                                                           NOTAR PUIC
                                                                         STATE Of DELAWARE
                                                                        Mr-iÚW-lJ& '18, lCl'1
                                                  1B¡ ZcJ//




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             Case 01-01139-AMC    Doc 22476-1   Filed 07/16/09   Page 2 of 26



W.R. Grace Madison Complex Claim Objection Service List
Case No. 01-1139
Doc. No. 148556
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